Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 1 of 66 PageID #: 155




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

   THE STATE OF ARIZONA, By and through
   its Attorney General, MARK BRNOVICH;

   THE STATE OF LOUISIANA,
   By and through its Attorney General,
   JEFF LANDRY;

   THE STATE OF MISSOURI,
   By and through its Attorney General,
   ERIC S. SCHMITT;

   THE STATE OF ALABAMA,
   By and through its Attorney General,
   STEVE MARSHALL;
                                              CIVIL ACTION NO. 6:22-cv-00885-RRS-
   THE STATE OF ALASKA,                       CBW
   By and through its Attorney General,
   TREG R. TAYLOR;

   THE STATE OF ARKANSAS,
   By and through its Attorney General,
   LESLIE RUTLEDGE;

   THE STATE OF FLORIDA,
   By and through its Attorney General,
   ASHLEY MOODY;

   THE STATE OF GEORGIA,
   By and through its Attorney General,
   CHRISTOPHER M. CARR;

   THE STATE OF IDAHO,
   By and through its Attorney General,
   LAWRENCE G. WASDEN;

   THE STATE OF KANSAS,
   By and through its Attorney General,
   DEREK SCHMIDT;

   THE COMMONWEALTH OF KENTUCKY,
   By and through its Attorney General,
   DANIEL CAMERON;



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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 2 of 66 PageID #: 156




   THE STATE OF MISSISSIPPI,
   By and through its Attorney General,
   LYNN FITCH;

   THE STATE OF MONTANA,
   By and through its Attorney General,
   AUSTIN KNUDSEN;

   THE STATE OF NEBRASKA,
   By and through its Attorney General,
   DOUGLAS J. PETERSON;

   THE STATE OF OHIO,
   By and through its Attorney General,
   DAVE YOST;

   THE STATE OF OKLAHOMA,
   By and through its Attorney General,
   JOHN M. O'CONNOR;

   THE STATE OF SOUTH CAROLINA,
   By and through its Attorney General,
   ALAN WILSON;

   THE STATE OF TENNESSEE
   By and through its Attorney General,
   HERBERT H. SLATERY III;

   THE STATE OF UTAH,
   By and through its Attorney General,
   SEAN D. REYES;

   THE STATE OF WEST VIRGINIA,
   By and through its Attorney General,
   PATRICK MORRISEY;

   THE STATE OF WYOMING,
   By and through its Attorney General,
   BRIDGET HILL;


                                      PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &
   PREVENTION;



                                                2
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 3 of 66 PageID #: 157




   ROCHELLE WALENSKY , in her official
   capacity as Director of the Centers for
   Disease Control & Prevention;

   U.S. DEPARTMENT OF HEALTH & HU-
   MAN SERVICES;

   XAVIER BECERRA , in his official capacity as
   Secretary of Health and Human Services;

   the UNITED STATES DEPARTMENT OF
   HOMELAND SECURITY;

   ALEJANDRO MAYORKAS in his official ca-
   pacity as Secretary of Homeland Security;

   U.S CUSTOMS AND BORDER PROTEC-
   TION;

   CHRISTOPHER MAGNUS in his official ca-
   pacity Commissioner of U.S. Customs and Bor-
   der Protection;


   U.S. IMMIGRATION AND CUSTOMS EN-
   FORCEMENT;

   TAE JOHNSON in his official capacity as Sen-
   ior Official Performing the Duties of Director of
   U.S. Immigration and Customs Enforcement;

   U.S. CITIZENSHIP AND IMMIGRATION
   SERVICES;

   UR M. JADDOU in her official capacity as Di-
   rector of U.S. Citizenship and Immigration Ser-
   vices;

   U.S. BORDER PATROL;

   RAUL ORTIZ in his official capacity as Chief of
   the U.S. Border Patrol;

   The UNITED STATES DEPARTMENT OF
   JUSTICE;




                                                     3
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 4 of 66 PageID #: 158




   MERRICK GARLAND in his official capacity
   as Attorney General of the United States of
   America;

   EXECUTIVE OFFICE FOR IMMIGRATION
   REVIEW;

   DAVID NEAL in his official capacity as Direc-
   tor of the Executive Office for Immigration Re-
   view;

   JOSEPH R. BIDEN, J R., in his official
   capacity as President of the United
   States; and

   the UNITED STATES OF AMERICA;

                                       DEFENDANTS.



                                  FIRST AMENDED COMPLAINT

          The States of Arizona, Louisiana, Missouri, Alabama, Alaska, Arkansas, Florida, Georgia,

  Idaho, Kansas, Kentucky, Mississippi, Montana, Nebraska, Ohio, Oklahoma, South Carolina, Ten-

  nessee, Utah, West Virginia, and Wyoming bring this civil action against the above-listed Defendants

  for declaratory and injunctive relief and allege as follows:

                                           INTRODUCTION
          1.      This suit challenges an imminent, man-made, self-inflicted calamity: the abrupt elimi-

  nation of the only safety valve preventing this Administration’s disastrous border policies from devolv-

  ing into unmitigated chaos and catastrophe. Specifically, this action challenges the Biden Administra-

  tion’s revocation of Title 42 border control measures, which will, absent judicial relief, become effec-

  tive May 23, 2022.

          2.      This is not merely the opinion of the Plaintiff States, but also that of some of the

  Administration’s otherwise-most-ardent supporters. Indeed, to date seven Democratic Senators have

  come out unambiguously in opposition to the challenged actions here. For example, one Democratic


                                                      4
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 5 of 66 PageID #: 159




  Senator observed: “This is the wrong decision…. [I]t’s clear that this administration’s lack of a plan

  to deal with this crisis will further strain our border communities.”

          3.      Similarly, Senator Kyrsten Sinema explained that the “decision to announce an end to

  Title 42 despite not yet having a comprehensive plan ready shows a lack of understanding about the

  crisis at our border.”

          4.      Eight days prior, these two Democratic Senators wrote a letter to President Biden

  telling him: “To date, we have not yet seen evidence that DHS has developed and implemented a

  sufficient plan to maintain a humane and orderly process in the event of an end to Title 42.”

          5.      A third Democratic Senator, Joe Manchin, described the Title 42 revocation as an

  outright “frightening decision.”1 He further explained that “[w]e are nowhere near prepared to deal with that

  influx. Until we have comprehensive, bipartisan immigration reform that commits to securing our

  borders and providing a pathway to citizenship for qualified immigrants, Title 42 must stay in place.”2 In

  addition, “Title 42 has been an essential tool in combatting the spread of COVID-19 and controlling

  the influx of migrants at our southern border,” said Senator Manchin.3 “We are already facing an

  unprecedented increase in migrants this year, and that will only get worse if the Administration ends

  the Title 42 policy.”4

          6.      And a fourth Democratic Senator, Maggie Hassan, similarly declared that: “Ending

  Title 42 prematurely will likely lead to a migrant surge that the administration does not appear to be

  ready for.”5 Senator Jon Tester has similarly observed (correctly) that “[e]nding Title 42 is expected to




  1
     Joe Manchin, Title 42 Must Stay In Place Until We Have Major Immigration Reforms (April 1, 2022)
  https://bit.ly/37azEI0 (emphasis added).
  2
    Id. (emphasis added).
  3
    Id.
  4
    Id.
  5
    https://twitter.com/SenatorHassan/status/1509936999267983364


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 6 of 66 PageID #: 160




  cause a significant increase of migration to the United States and put more pressure on an already broken

  system.”6 And Senator Raphael Warnock has likewise declared that “I think this is the wrong time and

  I haven’t seen a plan that gives me comfort.”7 And Senator Catherine Cortez Masto has opined that:

  “This is the wrong way to do this and it will leave the administration unprepared for a surge at the

  border.”8

              7.   And these are just the opinions of Senators of President Biden’s own party—hardly

  disinterested, neutral observers. To be fair, these views appear to be widely shared—though in more-

  circumspect/less-candid statements—by many members of the Biden Administration itself, even at

  the highest levels. For example, the White House’s own Communications Director, Kate Bedingfield,

  outright admitted that the Administration “ha[s] every expectation that when the CDC ultimately de-

  cides it’s appropriate to lift Title 42, there will be an influx of people to the border.”9

              8.   Senator Bill Cassidy of Louisiana similarly criticized the Biden Administration’s plans,

  stating “Removing Title 42 is a mistake that will encourage another wave of illegal migration and drug

  trafficking to overwhelm the Southern border. There is no justification for this.” See Press Release,

  Cassidy Reacts to Rescinding Trump-Era Policy to Stop Mass Migration, www.cassidy.senate.gov.

              9.   The National Border Patrol Council President, Brandon Judd, similarly declared: “We

  know this is going to cause chaos of epic proportions.”10 He also noted the obvious incongruity of



  6
     See Jon Tester, Statement (Apr. 5, 2022) available at https://www.tester.senate.gov/?p=press_re-
  lease&id=9018 (emphasis added).
  7
    Tim Mitchell, The Jolt: Immigrant groups unhappy with Warnock criticism of new border policy, Atlanta Jour-
  nal-Constitution (Apr. 7, 2022) available at https://www.ajc.com/politics/politics-blog/the-jolt-im-
  migrant-groups-unhappy-with-warnock-criticism-of-new-border-policy/A4R3Q3N62VHPZBHWT-
  CYYKNYD3Q/.
  8
     See https://kesq.com/news/2022/04/12/democrats-intensify-fight-against-biden-immigration-
  policy/ (Apr. 12, 2022).
  9
     Catherine E. Shoichet, We’re expecting a big increase in migrants at the US-Mexico border. But this time is
  different, CNN, (April 1, 2022) (emphasis added), https://cnn.it/3LrtLoC.
  10
      Adam Shaw, Border Patrol agents bracing for new migrant wave if Title 42 lifts: 'We are expecting to get wrecked,

                                                           6
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 7 of 66 PageID #: 161




  Administration policy: “We can’t even fly on airplanes without masks, but we’re going to end Title 42

  which is going to cause the single largest [in]flux of illegal immigration in our history?”11 “It’s impos-

  sible for me to overstate how demoralized the average agent is,” Judd said. “They’re asking themselves,

  ‘Why am I putting on this uniform?’ every day. This administration is responsible for the single largest

  crisis on the border and they’re about to make it worse.”12

          10.     Similarly, DHS put out an official “fact sheet” in anticipation of the Title 42 revocation

  declaring that “There is broad agreement that our immigration system is fundamentally broken.”13 But

  the Administration’s “answer” to that problem is to break it further.

          11.     Other DHS officials, shielded by anonymity, have been even more candid, explaining

  that “ending Title 42 would lead to what one DHS agent described as a ‘surge on top of a surge.’”14

          12.     One anonymous agent succinctly explained the sentiment at the Border Patrol: “We

  are expecting to get wrecked.”15

          13.     The Center for Disease Control’s (“CDC’s”) April 1, 2022 order revoking its prior

  Title 42 policy is also plainly at war with other policies of the Biden Administration. The Title 42

  Termination is expressly premised on the “rapid[] decrease” of COVID-19 cases following the recent

  wave of the Omicron variant of the virus. Ex. A at 12. But the Administration has not seen fit else-

  where to act upon these improvements by, for example, lifting the mask mandate on airline travel,16



  Fox News, (Mar, 31, 2022), https://fxn.ws/3uKEx2B
  11
     Id.
  12
     Callie Patteson and MaryAnn Martinez, Immigration authority Title 42 to be terminated on May 23, CDC
  says, NY Post (Apr. 1, 2022), https://nypost.com/2022/04/01/title-42-to-be-terminated-on-may-23-
  cdc-says/.
  13
        DHS, Fact Sheet: DHS Preparations for a Potential Increase in Migration (Mar. 30, 2022),
  https://bit.ly/3j3LEgR.
  14
     Adam Shaw and Peter Hasson, Border Patrol agents bracing for new migrant wave if Title 42 lifts: “We are
  expecting to get wrecked”, Fox News (Mar. 31, 2022), https://fxn.ws/3IZjApt.
  15
     Id.
  16
     Jonathan Franklin, U.S. airline CEOs call on President Biden to end the federal mask mandate on planes, NPR

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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 8 of 66 PageID #: 162




  or loosening or repealing its vaccination mandates,17 or ending its relentless campaign to discharge

  members of our military who have applied for religious exemptions for vaccination requirements—

  which have been almost uniformly denied.18 The Title 42 Revocation thus stands as a radical outlier—

  seemingly the only COVID-19-based restriction the Administration sees fit to end.

          14.     But the CDC’s Termination Order is not merely unfathomably bad public policy. It is

  also profoundly illegal. That is principally so for two reasons: (1) Defendants unlawfully flouted the

  notice-and-comment requirements for rulemaking under the Administrative Procedure Act (“APA”)

  and (2) Defendants’ Termination Order is arbitrary and capricious, thus violating the APA, because it

  has numerous omissions that each independently render it illegal.

          15.     First, the notice-and-comment violation: Defendants do not deny that the Termina-

  tion Order would ordinarily be subject to the requirement of providing notice of a proposed rule,

  taking comment upon it, and responding to those comments. They seek to excuse their flouting of

  that requirement for two reasons: they invoke the “good cause” and “foreign affairs” exceptions of 5

  U.S.C. § 553(a)(1) and (b)(3)(B). But neither applies.




  (Mar. 24, 2022), https://www.npr.org/2022/03/24/1088669929/airlines-federal-travel-mask-man-
  date (noting request from airline CEOs to the Biden Administration that the air travel mask mandate
  be lifted, and noting that “the White House has not yet commented on the group's request).
  17
     E.g., Georgia v. Biden, --- F.Supp.3d ----, 2021 WL 5779939 (S.D. Ga. Dec. 7, 2021) (granting nation-
  wide preliminary injunction of federal contractor vaccine mandate); Georgia v. Biden, 21-cv-00163, ECF
  No. 96 (S.D. Ga. Dec 9, 2021) (federal government’s notice of appeal of nationwide injunction of
  federal contractor vaccine mandate); Feds for Med. Freedom v. Biden, --- F.Supp.3d ----, 2022 WL 188329,
  at *8 (S.D. Tex. Jan. 21, 2022) (granting nationwide preliminary injunction of federal employee vaccine
  mandate); Feds for Med. Freedom v. Biden, 21-cv-00356, ECF No. 37 (S.D. Tex. Jan. 21, 2022) (federal
  government’s notice of appeal of nationwide injunction of federal employee vaccine mandate).
  18
     E.g., U.S. Navy SEALs 1-26 v. Biden, --- F.Supp.3d ----, 2022 WL 34443, at *1, *13, and *14 (N.D.
  Tex. Jan. 3, 2022) (“[t]he Navy has not granted a religious exemption to any vaccine in recent
  memory”; noting punitive measures taken against Navy SEALS who refused to take vaccine, including
  threat of discharge from military; and enjoining military vaccine mandate); U.S. Navy SEALs 1-26 v.
  Biden, 21-cv-01236, ECF No. 82 (N.D. Tex. Jan. 21, 2022) (federal government’s notice of appeal). .


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 9 of 66 PageID #: 163




          16.     As to the good cause exception, CDC argues that “it would be impracticable and con-

  trary to the public interest” to take public comments on the Title 42 Revocation, and that DHS

  “need[s] time to implement an orderly and safe termination of the order.” Order at 29. These skeletal

  assertions fail to satisfy the good cause exception for four reasons.

          17.     First, CDC had ample time to take public comment on revoking Title 42 and lacks any

  pressing need or minimally persuasive excuse for failing to do so. President Biden issued an executive

  order on February 2, 2021, directing CDC and DHS to consider rescinding Title 42. Defendants thus

  had one day short of fourteen months to take public comment on potentially rescinding Title 42. They

  simply refused to do so. That willful failure to take public comments in that time is not “good cause”

  under the APA.

          18.     Second, Defendants ignore that while the initial promulgation of Title 42 invoked the

  good cause exception—because its issuance was during the rapidly unfolding beginning of the Covid-

  19 pandemic—the same is not true here. This Order arises two full years into the pandemic, where it

  is waning in some areas while a new variant threatens others. The exigency of the initial order simply

  does not exist here. There is no “pandemic exception” to notice-and-comment requirements, partic-

  ularly two years into that pandemic.

          19.     Third, the CDC ignores that it did take public comment in connection with the issuance

  of the Title 42 system under the Trump Administration, from March 24 to April 24, 2022, and then

  issued a final rule less than five months after the comment period closed. 85 Fed. Reg. 56424, 56488

  (Sept. 11, 2020). There is no reason that the CDC could not have taken the same approach again

  here—and the CDC certainly does not supply any. The CDC is thus simply wrong in contending that

  the “extraordinary nature” of Title 42 orders necessarily eliminates the APA’s requirement for taking

  public comment, as its own actions demonstrate.




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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 10 of 66 PageID #: 164




           20.     Fourth, the CDC’s rationale is self-refuting: if Defendants “need time” to implement

   the Title 42 revocation, which the Order effectively concedes will be extraordinarily challenging, that

   is a reason to take comments so the agency can have the benefit of public input and can use the needed

   time to obtain it. Moreover, the disaster that the Administration correctly predicts could easily be less

   calamitous if they take suggestions from the public and states and incorporate those suggestions. But

   the CDC’s arrogant assertion that there is no value to be had from public commenting does not constitute

   “good cause.”

           21.     As to the foreign affairs exception, the CDC offers only a single unspecific sentence

   contending that “this Order concerns ongoing discussions with Canada, Mexico, and other countries

   regarding immigration and how best to control COVID-19 transmission over shared borders.” Order

   at 29. That is patently insufficient.

           22.     The “foreign affairs exception applies in the immigration context only when ordinary

   application of the public rulemaking provisions [i.e., taking public comment] will provoke definitely unde-

   sirable international consequences.” East Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 775–76 (9th Cir.

   2018) (cleaned up) (emphasis added). But the CDC does not identify any potential “undesirable inter-

   national consequences,” let alone establish with certainty that such consequences will occur. Instead,

   the CDC’s order merely alludes to the fact that the Administration is engaged in unspecified talks with

   Canada and Mexico about Covid-19. That is woefully insufficient. The Administration cannot evade

   notice-and-comment requirements by the expedient of simply talking with its neighboring countries

   about the same subject in lieu of seeking comment from its own citizens. But that is all Defendants

   offer here.

           23.     For these reasons, neither the good cause nor foreign affairs exceptions apply here.

   The CDC’s refusal to take public comment thus violates the APA and alone requires invalidation of

   the Termination Order.



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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 11 of 66 PageID #: 165




           24.     That conclusion is perhaps unsurprising. The Biden Administration’s violation of no-

   tice-and-comment requirements in the immigration context is by now notorious with federal courts.

   See, e.g., Texas v. United States, __ F. Supp. 3d ___, 2021 WL 3683913, at *51-58 (S.D. Tex. Aug. 19,

   2021) (holding that DHS’s issuance of Interim Guidance, which similarly and severely reduced remov-

   als of aliens with criminal convictions, violated notice-and-comment requirements); Texas v United

   States, 524 F. Supp. 3d 598, 656-62 (S.D. Tex. 2021) (holding same for 100-day moratorium on immi-

   gration removals). Indeed, at oral argument Justice Kagan recently observed another potential viola-

   tion by DHS, explaining that “[t]he real issue to me is [DHS’s] evasion of notice-and-comment.”19

           25.     The Termination Order also violates the APA as arbitrary and capricious decision-

   making. “[A]gency action is lawful only if it rests on a consideration of the relevant factors” and con-

   siders all “important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (requiring

   “reasoned decisionmaking”). This means agencies must “examine all relevant factors and record evi-

   dence.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017).

           26.     The CDC’s Order is arbitrary and capricious most obviously because it expressly re-

   fuses to analyze the impacts it will have upon the States. That is, after all, an “important aspect of the

   problem.” Michigan, 576 U.S. at 752. Indeed, the Supreme Court has repeatedly recognized “the im-

   portance of immigration policy to the States,” particularly as the States “bear[] many of the conse-

   quences of unlawful immigration. Arizona v. United States, 567 U.S. 387, 397 (2012)

           27.     The CDC does not even attempt to deny that its Title 42 Termination Order will im-

   pose enormous costs upon the States. Nor did it make any attempt to analyze those substantial

   harms—even though it was legally required to do so under the APA. See, e.g., Arizona v. Biden, 2022

   WL 839672, at *30 (holding that DHS violated APA by providing “no explanation of how its policy—


   19
      Transcript at 47-48, Arizona v. San Francisco, No. 20-1775 (Feb. 23, 2022) available at
   https://bit.ly/3itwfq7


                                                      11
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 12 of 66 PageID #: 166




   that relaxes mandatory detention standards set by Congress—might increase state criminal justice ex-

   penses”); Texas v. United States, 2021 WL 3683913, at *49 (explicitly rejecting “the Government’s ar-

   gument that it need not consider the States’ costs and expenses stemming from the new [immigration]

   guidelines” under the APA). Defendants thus violated the APA by failing to consider the impacts of

   their Order on the States, which is manifestly an “important aspect of the problem.” Michigan, 576

   U.S. at 752.

           28.     Rather than attempting to analyze the costs that its Order will impose on the States

   whatsoever, CDC denies that it has any obligation to consider those harms at all. Instead, it reasons that

   “no state or local government could be said to have legitimately relied on the CDC [Title 42] Orders

   … because those orders are, by their very nature, short-term orders, authorized only when specified

   statutory criteria are met, and subject to change at any time in response to an evolving public health

   crisis.” Order at 23.

           29.     The CDC’s argument fails for two reasons. First, regardless of the purported illegiti-

   macy of the State’s reliance on the CDC’s Title 42 Orders, the CDC still had an obligation to consider

   the harms to the States since that is an “important aspect of the problem.” Michigan, 576 U.S. at 752.

   The CDC has no license to inflict wanton harms on the States without at least first considering what

   the magnitude of those harms might be and whether they could be mitigated if the agency considered

   alternatives with those harms in mind. See, e.g., id. at 759 (explain that agencies “must consider cost

   … before deciding whether regulation is appropriate and necessary”). Here the CDC failed to do so—

   and indeed expressly refused to consider those harms. Defendants’ APA violation is thus explicit and

   admitted.

           30.     Second, even if the CDC were correct that the “short-term” nature of the Title 42 Or-

   ders—which have been in place for two entire years and counting—meant that the States could not

   rely on the Orders being in place permanently, the States still could reasonably rely on the CDC not to



                                                      12
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 13 of 66 PageID #: 167




   revoke the Orders abruptly at a truly terrible time to do so. The Order’s timing will greatly exacerbate

   an already extant meltdown of operational control at the southern border—which even the Admin-

   istration and its supporters fully expect. Supra ¶¶ 2-7, 10. Simply put, the States could reasonably rely on

   the CDC not suddenly revoking its Title 42 Orders now, thereby stacking crisis upon crisis—or in the

   words of DHS officer, inflicting a “surge on top of a surge.” Furthermore, the States could reasonably

   rely on the CDC only to revoke the Orders after following the APA’s notice-and-comment require-

   ments.

            31.    A second principal deficiency of the Termination Order is that it fails to analyze mean-

   ingfully the entirely predictable—and actually predicted—surge of illegal migration that it will cause. In-

   deed, the Administration has internally predicted that the Termination Order could triple the daily

   number of illegal aliens attempting to cross the border. See infra ¶ 108. But the Termination Order

   never meaningfully analyzes these impacts or considers ways in which they might be mitigated.

            32.    These are only the most flagrant of the defects of the Order. It is also arbitrary and

   capricious because it, for example, (1) failed to consider alternative effective dates, (2) failed to con-

   sider DHS’s inability to cope with the resulting surge and failure to plan adequately for it, (3) failed to

   consider the impacts of the fact that there are huge numbers of aliens waiting at the southern border

   to cross the moment that Title 42 is rescinded, and (4) failed to consider the cumulative effects of the

   rescission of the Title 42 rescission with the Administration’s attempted termination of the Migrant

   Protection Protocol, see Texas v. Biden, 20 F.4th 928, 990 (5th Cir. 2021) cert. granted, 142 S. Ct. 1098

   (2022), whose impacts will snowball upon each other.

            33.    For all of these reasons, the CDC’s Title 42 Termination Order violates the APA many

   times over. This Court should accordingly “hold unlawful and set aside” that Order. 5 U.S.C. § 706(2).




                                                       13
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 14 of 66 PageID #: 168




                                                   PARTIES
           34.     Plaintiff State of Arizona is a sovereign state of the United States of America. Arizona

   sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

   tecting its citizens. Arizona brings this suit through its Attorney General, Mark Brnovich. He is the

   chief legal officer of the State of Arizona and has the authority to represent the State in federal court.

   His offices are located at 2005 North Central Avenue, Phoenix, Arizona 85004.

           35.     Plaintiff State of Louisiana is a sovereign State of the United States of America. Loui-

   siana sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Louisiana brings this suit through its Attorney General, Jeff Landry. He is

   authorized by Louisiana law to sue on the State’s behalf. His offices are located at 1885 North Third

   Street, Baton Rouge, Louisiana 70802.

           36.     Plaintiff State of Missouri is a sovereign State of the United States of America. Mis-

   souri sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Missouri brings this suit through its Attorney General, Eric S. Schmitt. He is

   authorized by Missouri law to sue on the State’s behalf. His address is P.O. Box 899, Jefferson City,

   Missouri 65102.

           37.     Plaintiff State of Alabama is a sovereign State of the United States of America. Ala-

   bama sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Alabama brings this suit through its Attorney General, Steve Marshall. He is

   authorized by Alabama law to sue on the State’s behalf. His address is 501 Washington Avenue, P.O.

   Box 300152, Montgomery, Alabama 36130-0152.

           38.     Plaintiff State of Alaska is a sovereign State of the United States of America. Alaska

   sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

   tecting its citizens. Alaska brings this suit through its Attorney General, Treg R. Taylor. He is



                                                       14
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 15 of 66 PageID #: 169




   authorized by Alaska law to sue on the State’s behalf. His address is 1031 West 4th Avenue, Suite 200,

   Anchorage, Alaska 99501-1994.

           39.      Plaintiff State of Arkansas is a sovereign State of the United States of America. Arkan-

   sas sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in

   protecting its citizens. Arkansas brings this suit through its Attorney General, Leslie Rutledge. She is

   authorized by Arkansas law to sue on the State’s behalf. Her address is 323 Center Street, Suite 200,

   Little Rock, Arkansas 72201.

           40.      Plaintiff State of Florida is a sovereign State of the United States of America. Florida

   sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

   tecting its citizens. Florida brings this suit through its Attorney General Ashley Moody. She is author-

   ized by Florida law to sue on the State’s behalf. Her address is The Capitol, Pl-01, Tallahassee, Florida

   32399-1050.

           41.      Plaintiff State of Georgia is a sovereign State of the United States of America. Georgia

   sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

   tecting its citizens. Georgia brings this suit through its Attorney General, Christopher M. Carr. He is

   authorized by Georgia law to sue on the State’s behalf. His address is 40 Capitol Square, S.W., Atlanta,

   Georgia 30334.

           42.      Plaintiff State of Idaho is a sovereign State of the United States of America. Idaho sues

   to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in protect-

   ing its citizens. Idaho brings this suit through its Attorney General, Lawrence G. Wasden. He is au-

   thorized to sue on the State’s behalf. His address is P.O. Box 83720, Boise, Idaho 83720-0010.

           43.      Plaintiff State of Kansas is a sovereign State of the United States of America. Kansas

   sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

   tecting its citizens. Kansas brings this suit through its Attorney General, Derek Schmidt. He is



                                                       15
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 16 of 66 PageID #: 170




   authorized by Kansas law to sue on the State’s behalf. His address is 120 SW Tenth Avenue, 3rd Floor,

   Topeka, Kansas 66612-1597.

            44.    Plaintiff Commonwealth of Kentucky is a sovereign State of the United States of

   America. Kentucky sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including

   its interests in protecting its citizens. Kentucky brings this suit through its Attorney General, Daniel

   Cameron. He is authorized by Kentucky law to sue on the State’s behalf. His address is 700 Capital

   Avenue, Suite 118, Frankfort, Kentucky 40601.

            45.    Plaintiff State of Mississippi is a sovereign State of the United States of America. Mis-

   sissippi sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Mississippi brings this suit through its Attorney General, Lynn Fitch. She is

   authorized by Mississippi law to sue on the State’s behalf. Her address is 550 High Street, Suite 1200,

   Jackson, Mississippi 39201.

            46.    Plaintiff State of Montana is a sovereign State of the United States of America. Mon-

   tana sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in

   protecting its citizens. Montana brings this suit through its Attorney General, Austin Knudsen. He is

   authorized to sue on the State’s behalf. His address is 215 N Sanders St., Helena, Montana 59601.

            47.    Plaintiff State of Nebraska is a sovereign State of the United States of America. Ne-

   braska sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Nebraska brings this suit through its Attorney General, Douglas J. Peterson.

   He is authorized to sue on the State’s behalf. His address is 2115 State Capitol, Lincoln, Nebraska

   68509.

            48.    Plaintiff State of Ohio is a sovereign State of the United States of America. Ohio sues

   to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in protect-

   ing the health and well-being of its citizens.



                                                        16
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 17 of 66 PageID #: 171




           49.     Plaintiff State of Oklahoma is a sovereign State of the United States of America. Ok-

   lahoma sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Oklahoma brings this suit through its Attorney General, John M. O'Connor.

   He is authorized by Oklahoma law to sue on the State’s behalf. His address is 313 NE 21st Street,

   Oklahoma City, Oklahoma 73105.

           50.     Plaintiff State of South Carolina is a sovereign State of the United States of America.

   South Carolina sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its

   interests in protecting its citizens. South Carolina brings this suit through its Attorney General, Alan

   Wilson. He is authorized by South Carolina law to sue on the State’s behalf. His address is P.O. Box

   11549, Columbia, South Carolina 29211.

           51.     Plaintiff State of Tennessee is a sovereign State of the United States of America. Ten-

   nessee sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Tennessee brings this suit through its Attorney General, Herbert H. Slatery

   III. He is authorized by Tennessee law to sue on the State’s behalf. His address is P.O. Box 20207,

   Nashville, Tennessee 37202-0207.

           52.     Plaintiff State of Utah is a sovereign State of the United States of America. Utah sues

   to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in protect-

   ing its citizens. Utah brings this suit through its Attorney General, Sean D. Reyes. He is authorized by

   Utah law to sue on the State’s behalf. His address is 350 North State Street, Suite 230, Salt Lake City,

   Utah 84114.

           53.     Plaintiff State of West Virginia is a sovereign State of the United States of America.

   West Virginia sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its

   interests in protecting its citizens. West Virginia brings this suit through its Attorney General, Patrick




                                                       17
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 18 of 66 PageID #: 172




   Morrisey. He is authorized by West Virginia law to sue on the State’s behalf. His address is State

   Capitol, Bldg 1, Room E-26, Charleston, WV 25305.

           54.     Plaintiff State of Wyoming is a sovereign State of the United States of America. Wyo-

   ming sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

   in protecting its citizens. Wyoming brings this suit through its Attorney General, Bridget Hill. She is

   authorized by Wyoming law to sue on the State’s behalf. Her address is 109 State Capitol, Cheyenne,

   Wyoming 82002.

           55.     Defendants are officials of the United States government and United States govern-

   mental agencies responsible for promulgating or implementing the Rule.

           56.     Defendant Centers for Disease Control and Prevention is constituent agency of the

   U.S. Department of Health and Human Services (“HHS”). It conducts specified functions under the

   Public Health Service Act, including exercising authority delegated by HHS.

           57.     Defendant Rochelle Walensky is the Director of the CDC. She is sued in her official

   capacity.

           58.     Defendant U.S. Department of Health and Human Services is an executive depart-

   ment of the United States Government.

           59.     Defendant Xavier Becerra is the Secretary of HHS. He is sued in his official capacity.

           60.     Defendant United States Department of Homeland Security (“DHS”) is an executive

   department of the United States Government.

           61.     Defendant Alejandro Mayorkas is the Secretary of Homeland Security and therefore

   the “head” of DHS with “direction, authority, and control over it.” 6 U.S.C. § 112(a)(2). Defendant

   Mayorkas is sued in his official capacity.

           62.     Defendant U.S. Customs and Border Protection (“USBP”) is an agency within DHS

   that is headquartered in Washington, D.C.



                                                      18
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 19 of 66 PageID #: 173




           63.      Defendant Christopher Magnus serves as Commissioner of USBP. Defendant Magnus

   is sued in his official capacity.

           64.      Defendant U.S. Immigration and Customs Enforcement (“ICE”) is an agency within

   DHS that is headquartered in Washington, D.C.

           65.      Defendant Tae Johnson serves as Acting Director of ICE. Defendant Johnson is sued

   in his official capacity.

           66.      Defendant U.S. Citizenship and Immigration Services (“USCIS”) is an agency within

   DHS that is headquartered in Camp Springs, Maryland.

           67.      Defendant Ur Jaddou serves as the Director for USCIS. Defendant Jaddou is sued in

   her official capacity.

           68.      Defendant U.S. Border Patrol is an agency within DHS that is headquartered in Wash-

   ington, D.C.

           69.      Raul Ortiz serves as the Chief of the U.S. Border Patrol.

           70.      Defendant Department of Justice (“DOJ”) is an executive department of the United

   States Government.

           71.      Defendant Merrick Garland is the Attorney General of the United States of America.

   He is sued in his official capacity.

           72.      Defendant Executive Office for Immigration Review (“EOIR”) is an agency within

   DOJ that is headquartered in Bailey's Crossroads, Virginia.

           73.      Defendant David Neal is Director of EOIR. He is sued in his official capacity.

           74.      Defendant Joseph R. Biden, Jr., is the President of the United States. He is sued in his

   official capacity.

           75.      Defendant the United States of America is sued under 5 U.S.C. §§ 702–703 and 28

   U.S.C. § 1346 and includes the departments and agencies thereof.



                                                      19
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 20 of 66 PageID #: 174




                                      JURISDICTION AND VENUE
           76.      This Court has subject-matter jurisdiction over this case because it arises under the

   Constitution and laws of the United States. See 28 U.S.C. §§ 1331, 1346, 1361; 5 U.S.C. §§ 701-06.

           77.      An actual controversy exists between the parties within the meaning of 28 U.S.C. §§

   2201(a), and this Court may grant declaratory relief, injunctive relief, and other relief under 28 U.S.C.

   §§ 2201-02, 5 U.S.C. §§ 705-06, 28 U.S.C. § 1361, and its inherent equitable powers.

           78.      Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because (1) Defendants are

   United States agencies or officers sued in their official capacities, (2) the State of Louisiana is a resident

   of this judicial district, (3) no real property is involved, and (4) a substantial part of the events or

   omissions giving rise to the Complaint occur within this judicial district. See Atlanta & F.R. Co. v. W.

   Ry. Co. of Ala., 50 F. 790, 791 (5th Cir. 1982); Ass’n of Cmty. Cancer Centers v. Azar, 509 F. Supp. 3d 482

   (D. Md. 2020).

                                FACTUAL AND LEGAL BACKGROUND
           The INA’s Requirements

           79.      The Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135, and the Immi-

   gration and Nationality Act, 8 U.S.C. § 1101 et seq., charge DHS with enforcing the United States’

   immigration laws. Under the immigration laws, “several classes of aliens are ‘inadmissible’ and there-

   fore ‘removable.’” Dept. of Homeland Sec. v. Thuraissigiam, 140 S.Ct. 1959, 1964 (2020), citing 8 U.S.C. §§

   1182, 1229a(e)(2)(A). Among these classes are aliens who lack a valid entry document when they apply

   for admission. 8 U.S.C. § 1182(a)(7)(A)(i)(l). This includes aliens who arrive in the United States and

   aliens who are present in the United States without having been lawfully admitted, who are deemed

   to have applied for admission. 8 U.S.C. § 1225(a)(1).

           80.      An inadmissible alien may be removed; the usual process involves an evidentiary hear-

   ing before an immigration judge at which the alien may present evidence and argue against removal.




                                                        20
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 21 of 66 PageID #: 175




   Thuraissigiam, 140 S.Ct. at 1964. However, this process is slow, and while “removal is being litigated,

   the alien will either be detained, at considerable expense, or allowed to reside in this country, with the

   attendant risk that he or she may not later be found.” Id.

           81.     To address these problems, Congress created more expedited procedures that apply

   to aliens who are “present in the United States who [have] not been admitted” and to aliens “who

   arrive[] in the United States (whether or not at a designated port of arrival ...)[.]” 8 U.S.C. § 1225(a)(1).

           82.     These aliens are subject to expedited removal if they (1) are inadmissible because they

   lack a valid entry document; (2) have not “been physically present in the United States continuously

   for the 2-year period immediately prior to the date of the determination of inadmissibility”; and (3) are

   among those whom the Secretary of Homeland Security has designated for expedited removal. Id.

   § 1225(b)(1)(A). Once an immigration officer determines that such an alien is inadmissible, the alien

   must be ordered “removed from the United States without further hearing or review.” Id.

   § 1225(b)(1)(A)(i).

           83.     Whether subject to the standard removal process or the expedited process, aliens who

   intend to claim asylum or who claim a credible fear of persecution are not deportable while that claim

   is being investigated. See 8 U.S.C. §§ 1158, 1225(b)(1). But those aliens must be detained until their

   entitlement to asylum is determined. Id. § 1225(b)(2).

           84.     It has been generally accepted that DHS has the discretion as to whether to place

   aliens, other than unaccompanied children, into the standard removal process or into expedited re-

   moval. See, e.g., Matter of M-S-, 27 I&N Dec. 509, 510 (A.G. 2019); Matter of E-R-M- & L-R-M-, 25 I&N

   Dec. 520, 524 (BIA 2011); 8 U.S.C. § 1232(a)(5)(D) (exception). Whichever path DHS chooses, aliens

   placed in removal proceedings must be detained until DHS has finished considering the asylum appli-

   cation or the removal proceedings. See Jennings v. Rodriguez, 138 S. Ct. 830, 844–45 (2018), (citing 8

   U.S.C. § 1225(b)(1), (2)). DHS may “for urgent humanitarian reasons or significant public benefit”



                                                        21
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 22 of 66 PageID #: 176




   temporarily parole these aliens, but it may do so “only on a case-by-case basis.” 8 U.S.C.

   § 1182(d)(5)(A).

           85.     Another class of inadmissible aliens is those who have a “communicable disease of

   public health significance[.]” 8 U.S.C. § 1182(a)(1)(A)(i). The INA defines a “communicable disease

   of public health significance” by referring to “regulations prescribed by the Secretary of Health and

   Human Services.” Id.

           86.     There are two circumstances under which aliens must be detained to determine

   whether they are inadmissible for public-health reasons. First, they must be detained if DHS has rea-

   son to believe they are “afflicted with” such a disease. 8 U.S.C. § 1222(a). Second, they must be de-

   tained if DHS “has received information showing that any aliens are coming from a country or have

   embarked at a place” where such a disease is “prevalent or epidemic[.]” This detention must enable

   “immigration officers and medical officers” to conduct “observation and an examination sufficient to

   determine whether” the aliens are inadmissible. Id.

           Covid-19 And The Requirements of the PHSA

           87.     In the words of the CDC itself, Covid-19 “is a quarantinable communicable disease

   caused by the SARS-CoV-2 virus.” Order Suspending the Right to Introduce Certain Persons, 86 Fed.

   Reg. 42,828, 42,830 (Aug. 5, 2021). Since it emerged in late 2019, “SARS–CoV–2, the virus that causes

   COVID–19, has spread throughout the world, resulting in a pandemic.” Id.

           88.     Since COVID-19 was first declared a public-health emergency in January 2020, “the

   U.S. government and CDC have implemented a number of COVID–19 mitigation and response

   measures.

           89.     The first Title 42 Order was issued on March 24 as an interim final rule. 85 Fed. Reg.

   16,559 (Mar. 24, 2020). At the same time, the CDC expressly invited “comment on all aspects of this

   interim final rule, including its likely costs and benefits and the impacts that it is likely to have on the



                                                       22
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 23 of 66 PageID #: 177




   public health, as compared to the current requirements under 42 CFR part 71.” Id. at 16,559.

           90.     After receiving 218 comments during the 30-day comment window that closed April

   24, 2020, the CDC published a final rule September 11, 2020; that rule “establishe[d] final regulations

   under which the Director [of the CDC] may suspend the right to introduce and prohibit, in whole or

   in part, the introduction of persons into the United States for such period of time as the Director may

   deem necessary to avert the serious danger of the introduction of a quarantinable communicable dis-

   ease into the United States.” 85 Fed. Reg. 56,424, 56,424, 56, 448 (Sep. 11, 2020) (codified at 42 C.F.R.

   § 71.40). This Final Rule, issued under the authority granted by the PHSA, 42 U.S.C. § 265, became

   effective October 13, 2020. On October 13, 2020, the day the Final Order became effective, the CDC

   issued its Order Suspending the Right to Introduce Certain Persons From Countries Where a Quar-

   antinable Communicable Disease Exists. 85 Fed. Reg. 65,806–12 (Oct. 13, 2020). Collectively, the

   Final Rule and this October Order work together in a process generally known as “Title 42” or “Title

   42 Order(s).”

           91.     Though issued under the Final Rule, the October Order was the latest in a series of

   orders issued under the original March 24, 2020 interim final rule. As had the earlier orders, the Oc-

   tober Order suspended introducing covered aliens into the United States, a suspension lasting until

   CDC determined that “the danger of further introduction of COVID-19 into the United States has

   ceased to be a serious danger to the public health[.]” 85 Fed. Reg. at 65,810. The suspension was based

   on findings that:

           • COVID-19 is a communicable disease that poses a danger to the public health;

           • COVID-19 is present in numerous foreign countries, including Canada and Mexico;

           • Because COVID-19 is so globally widespread, there is a serious danger that it will be carried

           into the land points of entry and Border Patrol stations at or near the United States’ borders

           with Canada and Mexico, and from there into the interior of the country;



                                                      23
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 24 of 66 PageID #: 178




             • If their entry were not suspended, covered aliens would be go through immigration pro-

             cessing at the land points of entry and Border Patrol stations that would require many of them

             (typically aliens who lack valid travel documents and are therefore inadmissible) to be held in

             the congregate areas of the facilities, in close proximity to one another, for hours or days;

             • Holding them in such settings would increase the already serious danger to the public health

             of the United States; and

             • This increased danger rose to the level that it required a temporary suspension of the intro-

             duction of covered aliens into the United States.

   Id.

             92.     Customs and Coast Guard officers have the duty to “aid in the enforcement of quar-

   antine rules and regulations,” PHSA, 42 U.S.C. § 268, and the Order noted that the CDC had requested

   “that DHS aid in the enforcement [of] this Order because CDC does not have the capability, re-

   sources, or personnel needed to do so.” Id. at 65,812. The CDC needed this assistance because of its

   own public health tools not being “viable mechanisms given CDC resource and personnel constraints,

   the large numbers of covered aliens involved, and the likelihood that covered aliens do not have homes

   in the United States.” Id.

             93.     The October Order applied to all covered aliens, defined as aliens “seeking to enter

   the United States … who lack proper travel documents,” “whose entry is otherwise contrary to law,”

   or “who are apprehended at or near the border seeking to unlawfully enter the United States.” Id. at

   65,807.

             94.     The October Order noted that expulsions under CDC’s prior orders had “reduced the

   risk of COVID-19 transmission in [points of entry] and Border Patrol Stations, and thereby reduced

   risks to DHS personnel and the U.S. health care system.” Id. It further noted that “[t]he public health

   risks to the DHS workforce—and the erosion of DHS operational capacity—would have been



                                                        24
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 25 of 66 PageID #: 179




   greater” without the initial suspension order. Further, the suspension orders “significantly reduced the

   population of covered aliens in congregate settings in [points of entry] and Border Patrol stations,

   thereby reducing the risk of COVID-19 transmission for DHS personnel and others within these

   facilities.” Id.

            95.       DHS began using its Title 42 authority to expel aliens in March 2020, and the popula-

   tion of aliens processed under Title 8 (the ordinarily applicable immigration rules) plummeted. Out of

   more than 253,000 total southwest border encounters under Title 8 in Fiscal Year 2020, fewer than

   25,000 occurred in the last six months of the year.20 During that same six-month period, nearly 200,000

   aliens were rapidly expelled under Title 42.

            96.       On July 19, 2021, the CDC issued a new order excepting unaccompanied children

   from the October Order. Public Health Determination Regarding an Exception for Unaccompanied

   Noncitizen Children, 86 Fed. Reg. 38,717 (July 22, 2021) (signed July 19, 2021)

            97.       On August 3, 2021, Defendants issued an order superseding the October Order and

   incorporating by reference the July Order excepting unaccompanied children. Public Health Reassess-

   ment and Order Suspending the Right to Introduce Certain Persons, 86 Fed. Reg. 48,828 (Aug. 5,

   2021) (“August Order”).

            98.       The August Order summarized the current state of emergency and nature of the pan-

   demic:

                  •   “Congregate settings, particularly detention facilities with limited ability to provide ad-

                      equate physical distancing and cohorting, have a heightened risk of COVID-19 out-

                      breaks.” Id. at 42,833. CBP facilities themselves have “[s]pace constraints [that]



   20
      The CBP statistics cited in this Complaint are available at Sw. Border Land Encounters, U.S. CUS-
   TOMS AND BORDER PROT., https://www.cbp.gov/newsroom/stats/southwest-land-border-en-
   counters (last visited Aug. 23, 2021).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 26 of 66 PageID #: 180




                      preclude implementation of cohorting and consequence management such as quaran-

                      tine and isolation.” Id. at 42,837.

                  •   “Countries of origin for the majority of incoming covered [aliens] have markedly lower

                      vaccination rates.” Of the top five originating countries, El Salvador, at 22%, had the

                      highest rate of vaccinated persons; Guatemala and Honduras, the two lowest, had

                      1.6% and 1.8%, respectively. Id. at 42,834 & n.57.

            99.       The August Order concedes that “the flow of migration directly impacts not only bor-

   der communities and regions, but also destination communities and healthcare resources of both.” 86

   Fed. Reg. at 42,835. It came only days after the Defendants released more than 1,500 COVID-positive

   unauthorized immigrants into the city of McAllen, Texas.21

            100.      On March 11, 2022, CDC Director Walensky issued a new order (the “March Order”)

   superseding the August Order. 87 Fed. Reg. 15243. The March Order apparently was issued in re-

   sponse to litigation in Texas22 challenging Defendants’ practice of not applying Title 42 to unaccom-

   panied alien children (“UAC”). The March Order found that suspending entry of UACs was “not

   necessary to protect U.S. citizens,” and that the August Order’s provisions were terminated as to

   UACs, but not as to “individuals in family units (FMU) or single adults (SA).” 87 Fed. Reg. 15243,

   15245.

            Termination of the August and March Orders

            101.      On April 1, 2022, CDC Director Walensky issued an order terminating the Title 42

   policy (the “Termination Order”) effective May 23, 2022. Exhibit A, Public Health Determination



   21
       Adam Shaw & Bill Melugin, “Texas border city says more than 7,000 COVID-positive migrants
   released since February, 1,500 in last week,” FOX NEWS (Aug. 4, 2021),
   https://www.foxnews.com/politics/texas-border-city-covid-positive-migrants-released-february-
   last-week.
   22
      Texas v. Biden, 21-cv-00579 (N.D. Tex.)


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 27 of 66 PageID #: 181




   And Order Regarding The Right To Introduce Certain Persons From Countries Where A Quaranti-

   nable Communicable Disease Exists, CDC (Apr. 1, 2022), available at https://www.cdc.gov/corona-

   virus/2019-ncov/cdcresponse/Final-CDC-Order-Prohibiting-Introduction-of-Persons.pdf.

             102.    The Termination Order claimed that it was “not a rule subject to notice and comment

   under the Administrative Procedure Act.” Ex. A at 29. It did so on two putative bases. First it asserted

   the good cause exception applied because “it would be impracticable and contrary to the public inter-

   est.” Second, it asserted that the APA’s foreign affairs exception by claiming without offering any

   detail or explanation that “this Order concerns ongoing discussions with Canada, Mexico, and other

   countries regarding immigration and how best to control COVID-19 transmission over shared bor-

   ders.” Id.

             103.    Even members of President Biden’s own party have criticized the Termination Order.

   Senator Joe Manchin warned in a letter to President Biden that, “[w]ith encounters along our southern

   border surging and the highly transmissible Omicron BA.2 subvariant emerging as the dominate strain

   in the United States, now is not the time to throw caution to the wind” and cancel the Title 42 policy.23

             Harms to Plaintiffs

             104.    States “bear[] many of the consequences of unlawful immigration.” Arizona v. United

   States, 567 U.S. 387, 397 (2012). They are, however, limited in their ability to “engage in” their own

   immigration “enforcement activities.” Id. at 410. The States thus rely significantly on the federal gov-

   ernment to fulfill its duties under the immigration laws, particularly when Congress has created man-

   datory obligations or otherwise limited the federal government’s discretion.

             105.    As a result, there is little the States can do about the thousands of aliens entering the

   United States. Record numbers of aliens are already attempting to cross the border illegally.



   23
        Joe Manchin, Ltr. to President Biden, (Mar. 29, 2022), https://bit.ly/3J4e2dF.


                                                        27
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 28 of 66 PageID #: 182




           106.    DHS’s own statistics show the dramatic increases in the number of crossings into the

   United States—even with Title 42 in place. Indeed, current levels of illegal crossings are at their highest

   levels in at least two decades, and perhaps ever. The following is DHS’s own chart graphically showing

   these enormous increases in crossings:




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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 29 of 66 PageID #: 183




    Table 1: DHS Southwest Border Encounters By Month




    Source: https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters




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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 30 of 66 PageID #: 184




             107.   DHS sources have indicated that “there have been more than 300,000 known ‘gota-

   ways’ —migrants who were not apprehended or turned themselves in and who got past agents -- since

   fiscal year 2022 began on October 1st.”24 In addition, “former Border Patrol Chief Rodney Scott said

   there had been approximately 400,000 gotaways in the entirety of FY 2021.” 25

             108.   Defendants’ unlawful termination of the Title 42 policy will induce a significant in-

   crease of illegal immigration into the United States, with many migrants asserting non-meritorious

   asylum claims. Indeed, press reports state that Defendants themselves predict that the Termination

   Order will create an unprecedented surge at the border that will overwhelm Defendants’ capacity to

   enforce immigration laws at the border—they predict that the daily number of aliens unlawfully trying

   to enter the United States will nearly triple.26 White House Communications Director Kate Bedingfield

   admitted on the record that the Termination Order will cause “an influx of people to the border.”27

   This predicted influx will injure the Plaintiff States in multiple ways, including through increased ex-

   penditures on health care, education, and law enforcement, as well as through increased numbers of

   crimes.

             109.   Another district court in this Circuit has found that reducing the likelihood that an

   alien will be released into the United States reduces the number of aliens who attempt to enter the

   United States illegally. Texas v. Biden, No. 2:21-cv-67, 2021 WL 3603341, at *6, *18–19 (N.D. Tex.

   Aug. 13, 2021); cf. Zadvydas v. Davis, 533 U.S. 678, 713 (2001) (Kennedy, J., dissenting). (“An alien ...



   24
      Melugin, BillFox News, 62,000+ illegal immigrants got past Border Patrol agents in March: sources (April 1,
   2022), https://fxn.ws/37fqLNq.
   25
      Id.
   26
      Nick Miroff and Maria Sacchetti, “Biden officials bracing for unprecedented strains at Mexicobor-
   der if pandemic restrictions lifted,” The Washington Post, Mar. 29, 2022. https://www.washing-
   tonpost.com/national-security/2022/03/29/border-pandemic-title-42-immigration/.
   27
       Maria Sacchetti and Nick Miroff, “Biden administration to lift pandemic border restrictions,” The
   Washington       Post,   Mar.     30,     2022,     https://www.washingtonpost.com/national-secu-
   rity/2022/03/30/title-42-border-restrictions-no-longer-needed-public-health-cdc-says/.


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 31 of 66 PageID #: 185




   has less incentive to cooperate or to facilitate expeditious removal when he has been released, even

   on a supervised basis, than does an alien held at an [ICE] detention facility.”)

           110.     Defendants’ unlawful termination of the Title 42 policy creates incentives to cross the

   border illegally by reducing the cost of being apprehended. Just as with the Migrant Protection Proto-

   cols, by removing the carrot of admission into the United States, reduced the number of false asylum

   claimants by requiring potential asylees to remain in Mexico, Texas, 2021 WL 3603341, at *6, *18–19,

   the Defendants, by removing the stick of mandatory detention, increase the number of illegal entries

   into the United States by erasing the possibility that an apprehension will result in

   anything other than the freedom to remain in the United State

           111.     Since 1982, the Supreme Court has mandated that States provide public education to

   school-age aliens not lawfully in the United States. Plyler v. Doe, 457 U.S. 202, 230 (1982). As a direct

   result of the influx of migrants that the Termination Order will cause, some of whom will be minors,

   the Plaintiff States will be compelled to spend additional moneys on education for these additional

   immigrants. The Termination Order is thus a direct, but-for cause of these imminent injuries.

           112.     The presence of these aliens in each State violates each State’s quasi-sovereign interest

   in its territory and the welfare of their citizens.

           113.     The Termination Order will cost Plaintiffs millions, as explained in further detail be-

   low.

                                                     Arizona

           114.     As a border state, Arizona is acutely affected by modifications in federal policy re-

   garding immigration.

           115.     Defendant DHS has previously recognized that Arizona “is directly and concretely

   affected by changes to DHS rules and policies that have the effect of easing, relaxing, or limiting

   immigration enforcement. Such changes can negatively impact [Arizona’s] law enforcement needs and



                                                         31
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 32 of 66 PageID #: 186




   budgets, as well as its other important health, safety, and pecuniary interests of the State of Arizona.”

   Exhibit B, Memorandum of Understanding Between DHS and the State of Arizona at 2. DHS has

   also recognized that “rules, policies, procedures, and decisions that could result in significant increases

   to the number of people residing in a community” will “result in direct and concrete injuries to [Ari-

   zona], including increasing the rate of crime, consumption of public benefits and services, strain upon

   the healthcare system, and harm to the environment, as well as increased economic competition with

   the State of Arizona 's current residents for, among other things, employment, housing, goods and

   services.” Id. at 3.

           116.      Arizona is required to expend its scarce resources when DHS acts unlawfully to in-

   duce increased illegal immigration. This includes resources expended by Arizona’s law enforcement

   community.

           117.     Arizona bears substantial costs of incarcerating unauthorized aliens, which amounts

   to tens of millions of dollars each year, as reflected by Arizona’s State Criminal Assistance Program

   (SCAAP) requests, the great majority of which are not reimbursed by the federal government.

           118.     Arizona has approximately 275,000 to 365,000 immigrants living in the State that are

   not lawfully in the United States; about 54% of them do not have health insurance; about 32% of

   them have incomes below the poverty level; and they cost Arizona taxpayers more than $1.7 billion a

   year.28 If more illegal aliens enter the State, that will increase the costs of the State’s healthcare system.



   28
      The number of unauthorized aliens is notoriously difficult to calculate. Several studies, however,
   estimate the number of unauthorized aliens in Arizona to be in this approximate range. See, e.g., Un-
   authorized Immigrant Population Profiles, Migration Policy Institute, https://www.migrationpol-
   icy.org/data/unauthorized-immigrant-population/state/AZ (273,000, 54% uninsured); U.S. unau-
   thorized immigrant population estimates by state, Pew Research Center (2016), https://www.pewre-
   search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/ (275,000); The Fiscal Bur-
   den of Illegal Immigration, Federation for American Immigration Reform (2017),
   http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (365,000, $1.7 billion annual cost).


                                                        32
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 33 of 66 PageID #: 187




           119.     Drug cartels use human trafficking routes to also traffic illegal drugs into the United

   States. Increased illegal immigration means increased quantities of illegal drugs. For example, drug

   cartels coordinate surges of unauthorized immigrants who cross the border in large groups and then

   make non-meritorious asylum claims. This serves as a distraction to Border Patrol personnel. While

   all available Border Patrol personnel are busy processing these aliens’ asylum claims, they are unable

   to patrol the border, which allows drug mules to enter the United States unimpeded. Individuals be-

   lieved to be cartel drug smugglers are regularly caught on camera crossing the border, dressed in cam-

   ouflage and carrying weapons to protect their drug loads.29 Cartel scouts appear to even brazenly

   “occupy strategically-selected hilltops for dozens of miles inside Arizona,” establishing a presence on

   American territory to track Border Patrol movements and coordinate surges of aliens entering the

   United States.30 Even the drugs themselves are becoming more dangerous, as smugglers are trading

   large bags of marijuana for smaller packs of more potent “cocaine, fentanyl, heroin, [and] meth.”31 In

   December 2021, police in Scottsdale, Arizona seized 1.7 million fentanyl pills that were worth $9

   million; they also seized ten kilograms of powdered fentanyl and one pound of methamphetamine.32

   The seized drugs were from the Sinaloa Cartel.33 According to the DEA, “[t]he Sinaloa Cartel primarily




   29
       Brian Brennan, ‘People don’t need to die’: Border rancher deals with constant flow of migrants, drug packers,
   KGUN 9 (May 20, 2019), https://www.kgun9.com/border-watch/people-dont-need-to-die-border-
   rancher-deals-with-constant-flow-of-migrants-drug-packers
   30
      U.S. House of Representatives, Committee on Homeland Security, Testimony of Jim Chilton on “Ex-
   amining the Effect of Border Wall on Private and Tribal Landowners”, (February 27, 2020), https://home-
   land.house.gov/imo/media/doc/Testimony%20-%20Chilton1.pdf
   31
      Natasha Yee, As marijuana profits fade, cartels increasingly smuggle fentanyl across the border, (October 18,
   2021),        https://gilaherald.com/as-marijuana-profits-fade-cartels-increasingly-smuggle-fentanyl-
   across-the-border/
   32
      Steven Hernandez, Scottsdale police, DEA seize record 1.7 million fentanyl pills in Arizona, Arizona Re-
   public,     (Dec.      16,    2021),     https://www.azcentral.com/story/news/local/phoenix-break-
   ing/2021/12/16/authorities-arizona-seize-9-million-fentanyl-pills-narcotics/8929613002/
   33
      Id.


                                                          33
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 34 of 66 PageID #: 188




   uses trafficking routes that go through Arizona,”34 and the Phoenix area is a major cartel drug trans-

   shipment hub.35

                                                 Louisiana

           120.    Plaintiff Louisiana is also gravely injured by the Termination Order. Louisiana will be

   required to stretch its scare resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to

   release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially.. The Rule will create increased crime and drug

   trafficking in Louisiana’s communities, requiring additional expenditure by law enforcement. In addi-

   tion, by incentivizing further illegal immigration, the Rule will force Louisiana to expend limited re-

   sources on education, healthcare, public assistance, and general government services.

           121.    Defendant DHS has previously recognized that Louisiana “is directly and concretely

   affected by changes to DHS rules and policies that have the effect of easing, relaxing, or limiting

   immigration enforcement. Such changes can negatively impact [Louisiana’s] law enforcement needs

   and budgets, as well as its other important health, safety, and pecuniary interests of the State of Ari-

   zona.” Exhibit C, Memorandum of Understanding Between DHS and the Louisiana Department of

   Justice at 2. DHS has also recognized that “rules, policies, procedures, and decisions that could result

   in significant increases to the number of people residing in a community” will “result in direct and

   concrete injuries to [Louisiana], including increasing the rate of crime, consumption of public benefits

   and services, strain upon the healthcare system, and harm to the environment, as well as increased




   34
      Id.
   35
      Alex Gallagher, Record fentanyl seizure by Scottsdale cops, DEA, Scottsdale Progress, (Dec. 19, 2021),
   https://www.scottsdale.org/news/record-fentanyl-seizure-by-scottsdale-cops-dea/article_fbf7c02e-
   6074-11ec-91ab-b35932ed58da.html


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 35 of 66 PageID #: 189




   economic competition with the State of Louisiana's current residents for, among other things, em-

   ployment, housing, goods and services.” Id. at 3.

           122.     Louisiana has approximately 70,000 to 78,000 aliens living in the State that are not

   lawfully in the United States; more than 70% of them do not have health insurance; about 34% of

   them have incomes below the poverty level; and they cost Louisiana taxpayers more than $362 million

   a year.36 If more illegal aliens enter the State, that will increase the costs of the State’s healthcare system.

           123.     DHS operates multiple alien detention facilities in the Western District of Louisiana,

   including the Pine Prairie ICE Processing Center in Pine Prairie, Louisiana, and others in Oberlin,

   Plain Dealing, Jonseboro, Jena, Natchitoches, Monroe, Ferriday, Basile, and Winnfield, Louisiana.

   DHS releases illegal aliens from those detention facilities to Louisiana cities throughout the Western

   District, including Lafayette, Monroe and Shreveport. Releases in Lafayette are so common that a

   California business advertises “immigration bail bonds in Lafayette” and urges illegal immigrants and

   their families to “contact our Lafayette bail bondsmen” “if you have a family member who finds him

   or herself in custody of [DHS].” Upon information and belief, DHS “paroles” many illegal immigrants

   into Louisiana cities without even the minimal security of a bond. The Termination Order will increase

   the use of DHS detention facilities and lead to the increased release of aliens into the Western District

   and throughout the State.




   36
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/LA (70,000, 73% uninsured, 34%
   poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (70,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (78,820, $362 million annunal cost).


                                                         35
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 36 of 66 PageID #: 190




                                                   Missouri

           124.    Missouri is directly and adversely affected by increases in illegal immigration at the

   southern border. Based on recent statistics, approximately 56 out of every 1,000 unlawful aliens who

   enter the United States end up residing in Missouri. These unlawful aliens impose pocketbook injuries

   on Missouri in the form of education, healthcare, and criminal-justice costs. These pocketbook injuries

   are irreparable because Missouri has no plausible recourse to recoup them.

           125.    “Missouri likewise faces a cost of verifying lawful immigration status for each addi-

   tional customer seeking a Missouri driver’s license.” Texas, 2021 WL 3603341, at *10.The total costs

   to … Missouri … of providing public education for illegal alien children will rise in the future as the

   number of illegal alien children present in the State increases.” Id.

           126.    “Some aliens who … are being released or paroled into the United States and will use

   state-funded healthcare services or benefits in … Missouri.” Id. “The total costs to the State will in-

   crease as the number of aliens within the state increases.” Id.

           127.    Missouri is also a destination state and hub for human-trafficking crimes within the

   United States, due to its situation at the confluence of several major interstate highways. Such crimes

   disproportionately afflict illegal aliens, and these crimes (and other crimes committed by illegal aliens)

   impose irreparable law-enforcement and criminal-justice costs on Missouri. As another district court

   recently found, “[s]ome aliens who … are being released or paroled into the United States and will

   commit crimes in … Missouri,” and “Missouri is … a destination and transit State for human traffick-

   ing of migrants from Central America who have crossed the border illegally.” Id. Both crimes com-

   mitted by unlawful aliens, and human-trafficking crimes committed by and against unlawful aliens,

   inflict irreparable costs on Missouri, both in law-enforcement costs and providing resources for vic-

   tims. “Human trafficking” arising from and involving increases in unlawful immigration “causes fiscal

   harm to … Missouri.” Id.



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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 37 of 66 PageID #: 191




           128.    An increased influx of illegal aliens also affect the labor market and reduce job oppor-

   tunities for U.S. citizens and lawfully present aliens in Missouri, as illegal aliens frequently compete for

   jobs at lower wages than workers who are lawfully present. Missouri is a State with large agricultural

   sector. The presence of large numbers of unlawful aliens distorts Missouri’s job markets and inflicts

   irreparable injury on both the State and its citizens.

                                                   Alabama

           129.    Plaintiff Alabama is also injured by the Termination Order. Alabama will be required

   to stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Alabama’s communities, requiring additional expenditure by law enforcement. In addi-

   tion, by incentivizing further illegal immigration, the Termination Order will force Alabama to expend

   limited resources on education, healthcare, public assistance, and general government services.

           130.    Alabama has approximately 55,000 to 73,000 illegal aliens living in the State; about

   68% of them are uninsured; about 34% of them have incomes below the poverty line; and they cost

   Alabama taxpayers more than $324.9 million a year.37 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.




   37
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/AL (62,000, 68% uninsured, 34%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (55,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (73,190, $324.9 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 38 of 66 PageID #: 192




                                                    Alaska

           131.    Plaintiff Alaska is also injured by the Termination Order. Alaska will be required to

   stretch its scarce resources under the Termination Order, because the Order will cause an influx of

   aliens at the border no longer subject to expulsion, causing Defendants to release hundreds of thou-

   sands of aliens into the United States monthly and similarly increasing the number of aliens Defend-

   ants fail to apprehend initially. The Termination Order will create increased crime and drug trafficking

   in Alaska ’s communities, requiring additional expenditure by law enforcement. In addition, by incen-

   tivizing further illegal immigration, the Termination Order will force Alaska to expend limited re-

   sources on education, healthcare, public assistance, and general government services.

           132.    Alaska has approximately 5,000 to 11,260 illegal aliens living in the State; they cost

   Alaska taxpayers more than $72 million a year.38 If more illegal aliens enter the State, that will increase

   the costs of the State’s healthcare system.

                                                   Arkansas

           133.    Plaintiff Arkansas is also injured by the Termination Order. Arkansas will be required

   to stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Arkansas’s communities, requiring additional expenditure by law enforcement. In



   38
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/programs/us-immigration-policy-program-data-hub/unauthorized-immigrant-
   population-profiles (10,000); U.S. unauthorized immigrant population estimates by state, Pew Re-
   search Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immi-
   grants-by-state/ (5,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigra-
   tion Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigra-
   tion-2017.pdf (11,260; $72 million annual cost).


                                                       38
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 39 of 66 PageID #: 193




   addition, by incentivizing further illegal immigration, the Termination Order will force Arkansas to

   expend limited resources on education, healthcare, public assistance, and general government services.

           134.    Arkansas has approximately 58,000 to 79,000 illegal aliens living in the State; about

   63% of them are uninsured; about 30% of them have incomes below the poverty line; and they cost

   Arkansas taxpayers more than $339.5 million a year.39 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                                     Florida

           135.    Plaintiff Florida is also injured by the Termination Order. Florida will be required to

   stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Florida’s communities, requiring additional expenditure by law enforcement. In addition,

   by incentivizing further illegal immigration, the Termination Order will force Florida to expend limited

   resources on education, healthcare, public assistance, and general government services.

           136.    Florida has approximately 772,000 to 957,000 illegal aliens living in the State; about

   61% of them are uninsured; about 28% of them have incomes below the poverty line; and they cost

   Florida taxpayers more than $4.7 billion a year.40 If more illegal aliens enter the State, that will increase

   the costs of the State’s healthcare system.


   39
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/AR (58,000, 63% uninsured, 30%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (55,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (78,820, $339.5 million annual cost).
   40
          See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute,

                                                        39
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 40 of 66 PageID #: 194




           137.    Florida spends over $100 million per year incarcerating illegal immigrants who commit

   crimes in the State. Florida also provides a variety of public benefits regardless of immigration status.

   In some circumstances, Florida law requires the State to provide benefits to illegal immigrants released

   at the border. § 443.101(7), Fla. Stat. (providing unemployment benefits for certain aliens who are

   paroled under 8 U.S.C. § 1182(d)(5)).

                                                     Georgia

           138.    Plaintiff State of Georgia is directly and adversely affected by any changes to federal

   immigration policy. When illegal immigration increases, Georgia must redirect its scarce resources.

   The Termination Order will cause an influx of aliens at the border no longer subject to expulsion,

   causing Defendants to release hundreds of thousands of aliens into the United States monthly and

   similarly increasing the number of aliens Defendants fail to apprehend initially. Illegal aliens in Georgia

   receive numerous state services, including healthcare, education, drivers-license, and criminal justice-

   related costs, among others. Ending the Title 42 policy would injure Georgia by increasing the number

   of illegal aliens receiving these services at its expense.

           139.    For instance, Georgia has approximately 339,000 to 422,000 aliens living unlawfully in

   the State; about 70% of them are uninsured; about 36% of them have incomes below the poverty

   level; and they cost Georgia taxpayers more than $1.8 billion a year.41 If more illegal aliens enter the

   State, that will increase the costs of the State’s healthcare system.



   https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state/FL               (772,000,
   61% uninsured, 28% below poverty level); U.S. unauthorized immigrant population estimates by state,
   Pew Research Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-
   immigrants-by-state/ (775,000); The Fiscal Burden of Illegal Immigration, Federation for American
   Immigration Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-
   Immigration-2017.pdf (957,100, $4.7 billion annual cost).
   41
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/GA (339,000, 70% uninsured,
   36% below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research
   Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-

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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 41 of 66 PageID #: 195




           140.    The CDC’s action will also increase crime and criminal justice expenses in Georgia. In

   fiscal year 2020, which ended September 2020, ICE’s Atlanta Office removed 9,137 aliens, of which

   5,889 were convicted criminals and 1,111 had pending criminal charges.42 If additional illegal aliens

   migrate to Georgia, some will commit crimes. That will impose irreparable law-enforcement and crim-

   inal-justice costs on Georgia.

                                                     Idaho

           141.    Plaintiff Idaho is also injured by the Termination Order. Idaho will be required to

   stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Idaho’s communities, requiring additional expenditure by law enforcement. In addition,

   by incentivizing further illegal immigration, the Termination Order will force Idaho to expend limited

   resources on education, healthcare, public assistance, and general government services.

           142.    Idaho has approximately 29,000 to 51,000 illegal aliens living in the State; about 60%

   of them are uninsured; about 27% of them have incomes below the poverty line; and they cost Idaho

   taxpayers more than $225.4 million a year.43 If more illegal aliens enter the State, that will increase the

   costs of the State’s healthcare system.


   by-state/ (400,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration
   Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-
   2017.pdf (422,250, $1.8 billion annual cost).
   42
      Local Statistics, ERO FY 2020 Report, U.S. Immigration & Customs Enforcement (Oct. 2021),
   https://www.ice.gov/doclib/news/library/reports/annual-report/ero-fy20-localstatistics.pdf
   43
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/ID (29,000, 60% uninsured, 27%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (35,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform

                                                       41
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 42 of 66 PageID #: 196




                                                   Kansas

           143.    Plaintiff Kansas is also injured by the Termination Order. Kansas will be required to

   stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Kansas communities, requiring additional expenditure by law enforcement. In addition,

   by incentivizing further illegal immigration, the Termination Order will force Kansas to expend limited

   resources on education, healthcare, public assistance, and general government services.

           144.    Kansas has approximately 69,000 to 85,000 illegal aliens living in the State; about 64%

   of them are uninsured; about 25% of them have incomes below the poverty line; and they cost Kansas

   taxpayers more than $377 million a year.44 If more illegal aliens enter the State, that will increase the

   costs of the State’s healthcare system.

                                                  Kentucky

           145.    Plaintiff Kentucky is also injured by the Termination Order. Kentucky will be re-

   quired to stretch its scarce resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to re-

   lease hundreds of thousands of aliens into the United States monthly and similarly increasing the




   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (50,670, $225.4 million annual cost).
   44
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/KS (69,000, 64% uninsured, 25%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (75,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (84,450, $377 million annual cost).


                                                      42
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 43 of 66 PageID #: 197




   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in Kentucky’s communities, requiring additional expenditure by law en-

   forcement. In addition, by incentivizing further illegal immigration, the Termination Order will force

   Kentucky to expend limited resources on education, healthcare, public assistance, and general gov-

   ernment services.

           146.    Kentucky has approximately 35,000 to 56,000 illegal aliens living in the State; about

   60% of them are uninsured; about 37% of them have incomes below the poverty level; and they cost

   Kentucky taxpayers more than $261 million a year.45 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                                 Mississippi

           147.    Plaintiff Mississippi is also injured by the Termination Order. Mississippi will be re-

   quired to stretch its scarce resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to

   release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in Mississippi’s communities, requiring additional expenditure by law en-

   forcement. In addition, by incentivizing further illegal immigration, the Termination Order will force

   Mississippi to expend limited resources on education, healthcare, public assistance, and general gov-

   ernment services.



   45
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/KY (46,000, 60% uninsured, 37%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (35,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (56,300, $261 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 44 of 66 PageID #: 198




           148.    Mississippi has approximately 20,000 to 28,150 illegal aliens living in the State; about

   75% of them are uninsured; about 49% of them have incomes below the poverty level; and they cost

   Mississippi taxpayers more than $117 million a year.46 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                                  Montana

           149.    Plaintiff Montana is also injured by the Termination Order. Montana will be required

   to stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Montana communities, requiring additional expenditure by law enforcement. In addition,

   by incentivizing further illegal immigration, the Termination Order will force Montana to expend lim-

   ited resources on education, healthcare, public assistance, and general government services.

           150.    Montana has approximately 3,000 to 6,000 illegal aliens living in the State, and they

   cost Montana taxpayers more than $27 million a year.47 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.


   46
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/programs/us-immigration-policy-program-data-hub/unauthorized-immigrant-
   population-profiles#MS (25,000, 75% uninsured, 49% below poverty level); U.S. Unauthorized im-
   migrant population estimates by state, Pew Research Center (2016), https://www.pewre-
   search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/ (20,000); The Fiscal Bur-
   den of Illegal Immigration, Federation for American Immigration Reform (2017),
   https://www.fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (28,150, $117 million annual cost).
   47
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/programs/us-immigration-policy-program-data-hub/unauthorized-immigrant-
   population-profiles#MT (3,000); U.S. unauthorized immigrant population estimates by state, Pew Re-
   search Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immi-
   grants-by-state/ (<5,000); The Fiscal Burden of Illegal Immigration, Federation for American Immi-
   gration Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-

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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 45 of 66 PageID #: 199




                                                 Nebraska

           151.    Plaintiff Nebraska is also injured by the Termination Order. Nebraska will be required

   to stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Nebraska’s communities, requiring additional expenditure by law enforcement. In addi-

   tion, by incentivizing further illegal immigration, the Termination Order will force Nebraska to expend

   limited resources on education, healthcare, public assistance, and general government services.

           152.    Nebraska has approximately 42,000 to 60,000 illegal aliens living in the State; about

   56% of them are uninsured; about 30% of them have incomes below the poverty line; and they cost

   Nebraska taxpayers more than $233.1 million a year.48 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                                    Ohio

           153.    Plaintiff Ohio is also affected by the Termination Order. By drastically increasing the

   number of aliens who enter the United States without legal authorization, previously expelled under

   the Title 42 Order, Ohio will be forced to expend limited resources on education, healthcare, public

   assistance, and general government services on those aliens who are either not apprehended at the

   border or who are released and travel to Ohio. Ohio, according to a 2019 estimate, has almost 90,000


   Immigration-2017.pdf (<6,000, $27 million annual cost).
   48
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/NE (42,000, 56% uninsured, 30%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (60,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (50,670, $233.1 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 46 of 66 PageID #: 200




   illegal migrants living in the State.49 According to the same estimate, half of this population is unin-

   sured, two-thirds live below 200 percent of the poverty level, and 92 percent of school aged children

   attend school. Ohio is required to pay the cost of emergency medical services for uninsured immi-

   grants who otherwise qualify for Medicaid, through the Emergency Medicaid program. Any increase

   in this population will increase costs to the State.

           154.    In addition, Defendants will be unable to adequately screen, mitigate, and treat for

   communicable diseases—of all types—when illegal border crossings (including crossings of “covered

   aliens”) reach their predicted levels. This presents a serious threat to the public health of Ohio and

   every State where the unvetted aliens travel.

                                                   Oklahoma

           155.    Plaintiff Oklahoma is also injured by the Termination Order. Oklahoma will be re-

   quired to stretch its scarce resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to

   release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in Oklahoma’s communities, requiring additional expenditure by law en-

   forcement. In addition, by incentivizing further illegal immigration, the Termination Order will force

   Oklahoma to expend limited resources on education, healthcare, public assistance, and general gov-

   ernment services.

           156.    Oklahoma has approximately 90,000 to 107,000 illegal aliens living in the State; about

   68% of them are uninsured; about 27% of them have incomes below the poverty line; and they cost




   49
     Profile of the Unauthorized Population: Ohio, Migration Policy Institute (last visited Nov. 9,
   2021), https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state/OH.


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 47 of 66 PageID #: 201




   Oklahoma taxpayers more than $467 million a year.50 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                               South Carolina

           157.    Plaintiff South Carolina is also injured by the Termination Order. South Carolina will

   be required to stretch its scarce resources even further under the Termination Order, because the

   Order will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants

   to release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in South Carolina’s communities, requiring additional expenditure by law

   enforcement. In addition, by incentivizing further illegal immigration, the Termination Order will

   force South Carolina to expend limited resources on education, healthcare, public assistance, and gen-

   eral government services.

           158.    South Carolina has approximately 88,000 to 98,000 illegal aliens living in the State;

   about 69% of them are uninsured; about 33% of them have incomes below the poverty line; and they

   cost South Carolina taxpayers more than $471 million a year.51 If more illegal aliens enter the State,

   that will increase the costs of the State’s healthcare system.


   50
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/OK (90,000, 68% uninsured, 27%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (85,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (106,970, $467 million annual cost).
   51
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/SC (88,000, 69% uninsured, 33%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (85,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (95,710, $471 million annual cost).


                                                       47
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 48 of 66 PageID #: 202




                                                 Tennessee

           159.    Plaintiff Tennessee is also injured by the Termination Order. Tennessee will be re-

   quired to stretch its scarce resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to

   release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in Tennessee’s communities, requiring additional expenditure by law en-

   forcement. In addition, by incentivizing further illegal immigration, the Termination Order will force

   Tennessee to expend limited resources on education, healthcare, public assistance, and general gov-

   ernment services for the influx of aliens

           160.    Tennessee has approximately 128,000 to 135,000 illegal aliens living in the State; about

   73% of them are uninsured; about 30% of them have incomes below the poverty line; and they cost

   Tennessee taxpayers more than $593 million a year.52 If more illegal aliens enter the State, that will

   increase the costs of the State’s healthcare system.

                                                    Utah

           161.    Plaintiff Utah is also injured by the Termination Order. Utah will be required to stretch

   its scarce resources even further under the Termination Order, because the Order will cause an influx

   of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds of

   thousands of aliens into the United States monthly and similarly increasing the number of aliens



   52
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/TN (128,000, 73% uninsured,
   30% below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research
   Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-
   by-state/ (130,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration
   Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-
   2017.pdf (135,120, $593 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 49 of 66 PageID #: 203




   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Utah’s communities, requiring additional expenditure by law enforcement. In addition,

   by incentivizing further illegal immigration, the Termination Order will force Utah to expend limited

   resources on education, healthcare, public assistance, and general government services.

           162.    Utah has approximately 89,000 to 113,000 illegal aliens living in the State; about 61%

   of them are uninsured; about 23% of them have incomes below the poverty line; and they cost Utah

   taxpayers more than $521 million a year.53 If more illegal aliens enter the State, that will increase the

   costs of the State’s healthcare system.

                                               West Virginia

           163.    Plaintiff West Virginia is also injured by the Termination Order. West Virginia will be

   required to stretch its scarce resources even further under the Termination Order, because the Order

   will cause an influx of aliens at the border no longer subject to expulsion, causing Defendants to

   release hundreds of thousands of aliens into the United States monthly and similarly increasing the

   number of aliens Defendants fail to apprehend initially. The Termination Order will create increased

   crime and drug trafficking in West Virginia’s communities, requiring additional expenditure by law

   enforcement. In addition, by incentivizing further illegal immigration, the Termination Order will

   force West Virginia to expend limited resources on education, healthcare, public assistance, and gen-

   eral government services.




   53
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/UT (89,000, 61% uninsured, 23%
   below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
   (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
   (95,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
   (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (112,600, $521 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 50 of 66 PageID #: 204




           164.    West Virginia has approximately 4,000 to 6,000 illegal aliens living in the State, and

   they cost West Virginia taxpayers more than $26.3 million a year.54 If more illegal aliens enter the State,

   that will increase the costs of the State’s healthcare system.

                                                  Wyoming

           165.    Plaintiff Wyoming is also injured by the Termination Order. Wyoming will be required

   to stretch its scarce resources even further under the Termination Order, because the Order will cause

   an influx of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds

   of thousands of aliens into the United States monthly and similarly increasing the number of aliens

   Defendants fail to apprehend initially. The Termination Order will create increased crime and drug

   trafficking in Wyoming’s communities, requiring additional expenditure by law enforcement. In addi-

   tion, by incentivizing further illegal immigration, the Termination Order will force Wyoming to ex-

   pend limited resources on education, healthcare, public assistance, and general government services.

           166.    Wyoming has approximately 5,000 to 7,000 illegal aliens living in the State, and they

   cost Wyoming taxpayers more than $26.1 million a year.55 If more illegal aliens enter the State, that

   will increase the costs of the State’s healthcare system.




   54
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/WV (4,000); U.S. unauthorized
   immigrant population estimates by state, Pew Research Center (2016), https://www.pewre-
   search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/ (<5,000); The Fiscal Bur-
   den of Illegal Immigration, Federation for American Immigration Reform (2017),
   http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (<6,000, $26.3 million annual cost).
   55
      See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
   grationpolicy.org/data/unauthorized-immigrant-population/state/WY (7,000); U.S. unauthorized
   immigrant population estimates by state, Pew Research Center (2016), https://www.pewre-
   search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/ (5,000); The Fiscal Burden
   of Illegal Immigration, Federation for American Immigration Reform (2017),
   http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
   (<6,000, $26.1 million annual cost).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 51 of 66 PageID #: 205




                                                All Plaintiffs

           167.    The CDC’s Termination Order will result in the entry of tens or hundreds of thou-

   sands of aliens unlawfully entering the United States, who would otherwise not be able to gain entry

   into the United States. This, in turn, will cause Plaintiff States to spend money on healthcare, deten-

   tion, education, and other services for aliens that would otherwise not have to be spent. For example,

   Arizona, Louisiana, Missouri, Alabama, Alaska, Arkansas, Florida, Georgia, Idaho, Kansas, Kentucky,

   Mississippi, Montana, Nebraska, Ohio, Oklahoma, South Carolina, Tennessee, Utah, West Virginia,

   and Wyoming are required to spend state monies on Emergency Medicaid, including for unauthorized

   aliens. 42 C.F.R. § 440.255(c).

           168.    By ignoring the requirements of the INA and PHSA, and thus facilitating the entry of

   unauthorized aliens into the United States, the Termination Order encourages a greater influx of un-

   authorized aliens into Plaintiff States, further increasing law enforcement costs in Plaintiff States, in-

   cluding costs related to coordinated activity between federal and state law enforcement agencies in the

   pursuit of suspected unauthorized aliens.

           169.    Federal law also requires that emergency medical services be provided to unlawfully

   present aliens. 42 C.F.R. § 440.255(c).

           170.    Plaintiff States’ emergency medical providers deliver millions of dollars in medical ser-

   vices to unauthorized aliens each year. These costs are not fully reimbursed by the federal government

   or the aliens themselves.

           171.    While these costs are impactful in typical years, the COVID-19 pandemic makes the

   potential for harm to Plaintiff States through additional emergency healthcare costs to unauthorized

   aliens exceptionally high.

           172.    The Termination Order necessarily increases the number of aliens in Arizona, Louisi-

   ana, Missouri, Alabama, Alaska, Arkansas, Florida, Georgia, Idaho, Kansas, Kentucky, Mississippi,



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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 52 of 66 PageID #: 206




   Montana, Nebraska, Ohio, Oklahoma, South Carolina, Tennessee, Utah, West Virginia, and Wyoming

   who are subject to receiving such medical care at the expense of Plaintiff States’ healthcare institutions.

             173.   The Termination Order will allow a far greater number of aliens with meritless asylum

   claims to enter the United States. Such aliens rarely leave the United States of their own accord, and

   Defendants rarely remove such aliens, even after their asylum claims have been denied. The Termina-

   tion Order will therefore increase Plaintiff States’ costs of providing emergency medical care to these

   individuals who would otherwise never have been allowed into the United States. Additionally, the

   Termination Order encourages a greater influx of unauthorized aliens into Plaintiff States, further

   increasing the population of unauthorized aliens for whom Plaintiff States must bear the cost of emer-

   gency medical care, education, and other social services.

             174.   The Termination Order will increase illegal immigration into the United States. Some

   of the additional illegal aliens will migrate into each of the Plaintiff States, and some of those aliens

   will commit crimes in each of the Plaintiff States. The increased number of illegal aliens in the Plaintiff

   States will thus also increase crime and criminal justice expenses in Plaintiff States, thus injuring the

   States through increased law enforcement, incarceration, and crime prevention costs. The increased

   crime will also injure the citizens of Plaintiff States.

             175.   In addition, Defendants will be unable to adequately screen, mitigate, and treat for

   communicable diseases—of all types—when illegal border crossings (including crossings of “covered

   aliens”) reach their predicted levels. This presents a serious threat to the public health of Plaintiff

   States.




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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 53 of 66 PageID #: 207




                                         CLAIMS FOR RELIEF

                                             COUNT I
                          Administrative Procedure Act, 5 U.S.C. § 706(2)(D)
                                   Lack of Notice and Comment

           176.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

   stated above.

           177.    The APA provides that courts must “hold unlawful and set aside agency action” that

   is “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

           178.    The APA requires agencies to publish notice of all “proposed rule making” in the

   Federal Register, id. § 553(b), and to “give interested persons an opportunity to participate in the rule

   making through submission of written data, views, or arguments,” id. § 553(c). The Termination Or-

   der, therefore, only can be issued, if at all, pursuant to notice-and-comment rulemaking under the

   APA. 5 U.S.C. § 553.

           179.    Such requirements “are not mere formalities” but rather “are basic to our system of

   administrative law.” NRDC v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95, 115 (2d Cir. 2018).

   “Section 553 was enacted to give the public an opportunity to participate in the rule-making process.

   It also enables the agency promulgating the rule to educate itself before establishing rules and proce-

   dures which have a substantial impact on those who are regulated.” U.S. Dep’t of Labor v. Kast Metals

   Corp., 744 F.2d 1145, 1153 n.17 (5th Cir. 1984); see also NRDC, 894 F.3d at 115 (notice and comment

   serves “the public interest by providing a forum for the robust debate of competing and frequently

   complicated policy considerations having far-reaching implications and, in so doing, foster reasoned

   decisionmaking”); Spring Corp. v. FCC, 315 F.3d 369, 373 (D.C. Cir. 2003) (notice and comment “en-

   sures fairness to affected parties[] and provides a well-developed record that enhances the quality of

   judicial review”).




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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 54 of 66 PageID #: 208




           180.      The Defendants did not conduct the statutorily required notice-and-comment process

   for the Termination Order.

           181.      The Termination Order is not an interpretive rule, general statement of policy, nor is

   it a rule of agency organization, procedure, or practice otherwise exempt from notice-and-comment

   rulemaking. Rather, the Termination Order is a substantive rule for APA purposes because it binds

   agency discretion. 5 U.S.C. § 551(4)–(5). Further, it is a final order because it represents the culmina-

   tion of the agency’s consideration and affects the rights and obligations of those to whom they apply.

   Indeed, the title of the Termination Order the “right” affected by the rule, specifically “the right to

   introduce certain persons from countries where a quarantinable communicable disease exists.” Ex. A

   at 1.

           182.      The CDC offered two bases for excusing notice-and-comment requirements: the good

   cause exception and the foreign affairs exception. Ex. A at 29. In assessing whether good cause exists,

   this Court “must rely only on the ‘basis articulated by the agency itself’ at the time of the rulemak-

   ing. ‘Post hoc explanations’” do not suffice. United States v. Johnson, 632 F.3d 912, 928 (5th Cir. 2011)

   (cleaned up).

           183.      The good-cause exception to the APA’s notice-and-comment requirement does not

   apply here, and Defendants’ rationale for invoking that exception is insufficient as a matter of law. See

   supra ¶¶ 15-20.

           184.      Defendants’ attempt to invoke the good cause exception ignores that there is a differ-

   ence between putting in place emergency measures against the backdrop of a rapidly escalating pan-

   demic of epic proportions versus taking action in the context of a slowly dissipating pandemic—it may

   be an emergency at the start of the pandemic, when quick action is needed, but not when it is tapering

   off slowly at a predictable pace. For example, there was ample time for Defendants to notify the public

   of its intention to revoke and to gather and consider comments on that proposal. On February 2,



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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 55 of 66 PageID #: 209




   2021, President Biden signed Executive Order 14010, in which he ordered that “[t]he Secretary of

   HHS and the Director of CDC, in consultation with the Secretary of Homeland Security, shall

   promptly review and determine whether termination, rescission, or modification of the [Title 42 or-

   ders] is necessary and appropriate.” 86 Fed. Reg. 8267. Defendants have therefore been considering

   the ending Title 42 for over 14 months. Defendants have had ample time to put potential termination

   up for notice-and-comment. And Defendants’ preparations for the Termination Order has apparently

   been continuous up until the moment of its issuance. On March 17, 2022, in response to a question

   about the possible termination of the Title 42 policy, White House spokesperson Vedant Patel af-

   firmed that “the Administration is doing our due diligence to prepare for potential changes at the

   border.”56 Apparently, however, that diligence did not include fulfilling the Administration’s legal ob-

   ligation under the APA to subject their planned policy change to notice and comment.

           185.    Nor does the foreign affairs exception to the APA’s notice-and-comment requirement

   apply. “[T]he foreign affairs exception requires the Government to do more than merely recite that

   the Rule ‘implicates’ foreign affairs.” East Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 775 (9th Cir.

   2018). A mere “reference in [a] Rule ... to our ‘southern border with Mexico’ is not sufficient.” Id.

   Thus, “the foreign affairs exception applies in the immigration context only when ordinary application

   of the public rulemaking provisions will provoke definitely undesirable international conse-

   quences…. [I]t would be problematic if incidental foreign affairs effects eliminated public participa-

   tion in this entire area of administrative law.” Id. at 776 (cleaned up) (citations and quotation marks

   omitted).




   56
     Jonathan Swan and Stef W. Kight, “Scoop: Biden officials fear "mass migration event" if COVID
   policies end,” Axios, Mar. 17, 2022, https://www.axios.com/biden-border-mexico-migrants-title-42-
   a91b6441-2197-463f-ab1f-2435824a9566.html.


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 56 of 66 PageID #: 210




           186.    In the immigration context, the foreign affairs exception only applies if “the public

   rulemaking provisions [w]ould provoke definitely undesirable international consequences”; otherwise,

   “the foreign affairs exception would become distended.” Zhang v. Slattery, 55 F.3d 732, 744 (2d Cir.

   1995) (citation omitted), superseded by statute on other grounds, by 8 U.S.C. § 1101(a)(42). In the

   Termination Order, Defendants never even claim at all that the Title 42 policy–either its continuance

   or termination—implicates any “undesirable international consequences.” Instead, Defendants at-

   tempt to invoke the foreign affairs exception merely by making the obvious and unexceptional disclo-

   sure that the Title 42 policy “concerns ongoing discussions with Canada, Mexico, and other countries

   regarding immigration.” Ex. A at 29. This weak attempt to invoke the foreign affairs exception is

   insufficient. That the United States is engaged in “ongoing discussions with Canada, Mexico, and other

   countries” id. at 29, does not entitle the Defendants to except the Termination Order from the APA’s

   procedures. There is no evidence that complying with the APA’s rulemaking procedures would cause

   a diplomatic incident.

           187.    Under these circumstances, Defendants’ failure to comply with the APA’s notice and

   comment provisions is fatal to the Rule. Id. at 928-29 (“Without good cause, we must enforce Con-

   gress’s choice in favor of the traditional, deliberative rulemaking process.”).

                                             COUNT II
                        Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C)
                              Arbitrary and Capricious Agency Action
                                    Contrary to 8 U.S.C. §§ 103(g)
           188.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

   stated above.

           189.    Under the APA, a court must “hold unlawful and set aside agency action” that is arbi-

   trary or capricious or otherwise not in accordance with law or contrary to the Constitution. 5 U.S.C.

   § 706(2)(A).




                                                      56
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 57 of 66 PageID #: 211




             190.   “[A]gency action is lawful only if it rests on a consideration of the relevant factors”

   and “important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (requiring

   “reasoned decisionmaking”). This means agencies must “examine all relevant factors and record evi-

   dence.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017).

             191.   For starters, an agency cannot “entirely fail[] to consider an important aspect of the

   problem.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Gresham v.

   Azar, 363 F. Supp. 3d 165, 177 (D.D.C. 2019) (“The bottom line: the Secretary did no more than

   acknowledge—in a conclusory manner, no less—that commenters forecast a loss in Medicaid cover-

   age.”).

             192.   Further, agencies must actually analyze the relevant factors. “‘Stating that a factor was

   considered ... is not a substitute for considering it.’” Texas v. Biden, 10 F.4th 538, 556 (5th Cir. 2021)

   The agency must instead provide more than “conclusory statements” to prove it considered the rele-

   vant statutory factors. Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2127 (2016).

             193.   The Termination Order is arbitrary and capricious for several independently sufficient

   reasons.

             194.   First, Defendants failed to estimate or account for the costs to the States of the Ter-

   mination Order, such as the increased health care costs for aliens infected with COVID-19 and the

   cost of increased illegal immigration caused by the Termination Order, and the presence of much

   greater numbers of paroled aliens with non-meritorious asylum claims who were induced to enter the

   United States because of the Termination Order.

             195.   Federal policy as it relates to immigration “has more than just an incidental effect on

   the States” because “the States engage in an immigration cost-sharing partnership” with the federal

   government. Arizona, 2022 WL 839672, at *24. Defendants, therefore “cannot so easily dismiss how

   [their] administration of the immigration laws impacts the States.” Id. “Immigration ‘ha[s] a discernable



                                                       57
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 58 of 66 PageID #: 212




   impact on traditional state concerns,’ considering that ‘unchecked unlawful migration might impair

   the State’s economy generally, or the State’s ability to provide some important service.’” Id. at *30

   (quoting Plyler, 457 U.S. at 228 n.23) (alteration in original).

             196.   Thus, when DHS “only considered whether its enforcement policies generally influ-

   ence state expenditures” and “gave no explanation of how its policy ... might increase state criminal

   justice expenses,” the Southern District of Ohio recently found that DHS had “‘entirely failed to

   consider’ an important consequence of its policy,” and its rule was therefore arbitrary and capricious.

   Id. (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

   The CDC has committed the same APA violation here by disclaiming any responsibility for analyzing

   negative impacts on the States from its Termination Order.

             197.   Second and relatedly, the Termination Order is arbitrary and capricious because the

   Defendants did not consider Plaintiffs States’ reliance interests in the continuation of the Title 42

   policy. In particular, the Defendants did not consider whether States relied on continuation of the

   Title 42 policy when Plaintiffs determined how they would marshal and distribute their resources to

   address the public-health, safety, and economic effects of the COVID-19 pandemic, as well as their

   decisions about resource allocations to deal with the number of unauthorized aliens entering their

   states.

             198.   Defendants’ cursory dismissal of the existence of any reliance interests in the Title 42

   policy misses the mark. Ex. A at 23-24. Their analysis is entirely legal in nature and fails to undertake

   any kind of policy analysis of the actual real-world effects of the Title 42 policy and how States might

   have legitimately relied on it. The Termination Order even acknowledges that “state or local govern-

   ment[s]” may have “reliance interest[s]” in the Title 42 policy, but characterizes such interests as “mis-

   placed” and claims that delaying the effective date of Termination Order until May 23 would be

   enough time for states “to adjust their planning in anticipation of the full resumption of Title 8 border



                                                         58
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 59 of 66 PageID #: 213




   processing.” Id. at 29. The Termination Order offers no explanation, however, of how 53 days might

   be enough time for states to “adjust their planning,” when the Title 42 policy has been in place for

   more than two years and when Defendants have in the meantime abdicated most of their other border

   enforcement obligations, thus leaving Title 42 as the only remaining bulwark against the rising flood

   of migrants pouring across the border illegally. The Termination Order is arbitrary and capricious

   because it utterly ignores Plaintiffs’ reliance interests, and it must therefore be set aside. See DHS v.

   Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913-14 (2020).

           199.    Third, Defendants also failed to consider the immigration consequences of the Termi-

   nation Order. Indeed, this failure is particularly brazen, as press reports state that Defendants have

   made internal assessments of the immigration effects, and are predicting unprecedented waves of new

   illegal immigration. See supra ¶¶ 7, 108. Indeed, the Termination Order itself acknowledges the likeli-

   hood of these public health and immigration consequences, as it delays the effective date of Termina-

   tion Order until May 23, 2022 “to give DHS time to implement additional COVID-19 mitigation

   measures” and “to provide DHS time to implement operational plans for fully resuming Title 8 pro-

   cessing.” Ex. A at 26, 28. By delaying the effective date until May 23, Defendants thus recognize the

   Termination Order will have consequences and that they have the authority and capacity to delay the

   Termination Order to account for immigration-related consequences. But they failed to analyze

   whether they should exercise that authority in a different manner given the enormous immigration

   consequences that even they predict will occur.

           200.    Fourth, Defendants failed to consider or arbitrarily rejected obvious alternatives to Ter-

   mination Order, such as continuing the Title 42 policy, rigorous enforcement of immigration laws to

   deter illegal immigration, or implementing in good faith the Migrant Protection Protocols (“MPP”)

   and withdrawing their challenge to the Fifth Circuit’s invalidation of it.




                                                        59
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 60 of 66 PageID #: 214




           201.       Fifth, Defendants failed to consider obvious and relevant consequences of the Termi-

   nation Order, such as the public health and public policy consequences of the emergence of new

   variants of the COVID-19 virus.

           202.       Sixth, Defendants failed to justify their deviation from prior practice of continuing the

   Title 42 policy.

           203.       Seventh, Defendants have failed to analyze and consider how their own failure to main-

   tain alien detention capacity affects the purported need to parole aliens into the United States. For

   example, at the same time Defendants claim that their detention facilities are at overcapacity, Defend-

   ants have submitted budget requests to Congress requesting for a decrease in funding for detention and

   detention facilities.57 Moreover, Defendants have affirmatively degraded their own detention capacity

   by cancelling contracts with private detention facilities and by closing detention facilities.58

           204.       Eighth, Defendants failed to consider alternative timing of the Termination so that the

   Termination would not coincide with the current unprecedented, continuing surge of migrants unlaw-

   fully crossing the border.

           205.       Ninth, Defendants failed to consider accumulated groups of aliens (e.g. Haitians) wait-

   ing on the Mexican side of the border who are waiting to cross the moment Title 42 is rescinded.59

   “Department of Homeland Security intelligence estimates that perhaps 25,000 migrants already are



   57
      Eileen Sullivan, “Biden to Ask Congress for 9,000 Fewer Immigration Detention Beds,” New York
   Times, Mar. 25, 2022, https://www.nytimes.com/2022/03/25/us/politics/biden-immigration-de-
   tention-beds.html.
   58
       Id.; Priscilla Alvarez, “Biden administration to close two immigration detention centers that came
   under scrutiny,” CNN. May 20, 2021, https://www.cnn.com/2021/05/20/politics/ice-detention-
   center/index.html.
   59
       Maria Sacchetti and Nick Miroff, “Biden administration to lift pandemic border restrictions,” The
   Washington          Post,    Mar.    30,    2022,     https://www.washingtonpost.com/national-secu-
   rity/2022/03/30/title-42-border-restrictions-no-longer-needed-public-health-cdc-says/ (“Thousands
   [of] Haitian migrants are believed to be waiting in Mexico in anticipation of the end of Title 42, ac-
   cording to DHS officials familiar with the government’s planning and preparations.”).


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 61 of 66 PageID #: 215




   waiting in Mexican shelters just south of the border for Title 42 to end.”60 A federal law enforcement

   official told CNN that the number of aliens in northern Mexico waiting to cross illegally into the

   United States is “[b]etween 30,000 to 60,000.”61

             206.   Tenth, Defendants failed adequately to consider the spread of infection in DHS facili-

   ties resulting from Title 42 termination, because the INA requires that aliens awaiting removal pro-

   ceedings must be detained.

             207.   Eleventh, Defendants failed to consider the interaction of the Termination with termi-

   nation of MPP.

             208.   This list is not exclusive but merely illustrative of the Termination Order’s obvious

   deficiencies. For each of these independently sufficient reasons and others, the Rule is arbitrary and

   capricious.

                                          PRAYER FOR RELIEF
             NOW, THEREFORE, Plaintiffs request an order and judgment:

        1.       Declaring, under 28 U.S.C. § 2201, that the Termination Order violates the APA because

                 it was promulgated without notice and comment;

        2.       Declaring, under 28 U.S.C. § 2201, that the Termination Order is arbitrary and capricious

                 and unlawful under the APA;

        3.       Vacating the Termination Order;

        4.       Preliminarily and permanently enjoining, without bond, Defendants from applying the

                 Termination Order;



   60
      Jonathan Swan and Stef W. Kight, “Scoop: Biden officials fear "mass migration event" if COVID
   policies end,” Axios, Mar 17., 2022, https://www.axios.com/biden-border-mexico-migrants-title-42-
   a91b6441-2197-463f-ab1f-2435824a9566.html.
   61
      Catherine E. Shoichet, “We're expecting a big increase in migrants at the US-Mexico border. But
   this time is different.” CNN, Apr. 1, 2022, https://www.cnn.com/2022/03/31/politics/border-title-
   42-whats-next-cec/index.html.


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Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 62 of 66 PageID #: 216




     5.    Awarding Plaintiffs their reasonable fees, costs, and expenses, including attorneys’ fees,

           pursuant to 28 U.S.C. § 2412; and

     6.    Granting any and all other such relief as the Court finds appropriate.




                                                 62
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 63 of 66 PageID #: 217




   Dated: April 14, 2022                      Respectfully submitted,

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                                             63
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 64 of 66 PageID #: 218




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                                             64
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 65 of 66 PageID #: 219




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                                             65
Case 6:22-cv-00885-RRS-CBW Document 10 Filed 04/14/22 Page 66 of 66 PageID #: 220




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                                                  66
